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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-236
LUKE RUSSELL COFFEE, : VIOLATIONS:
: 18 U.S.C. § 231(a)(3)
Defendant. : (Civil Disorder)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)

: (Entering and Remaining in a Restricted

: Building or Grounds with a Deadly or

: Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

:  18U.S.C. § 1752(a)(3) and (b)(1)(A)

: (Impeding Ingress and Egress in a

: Restricted Building or Grounds with a

: Deadly or Dangerous Weapon)

: 180U.S.C. § 1752(a)(4) and (b)(1)(A)

: (Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

: (Disorderly Conduct in

: a Capitol Building)

: 40U.S.C. § 5104(e)(2)(E)

: (Impeding Passage Through the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(F)
(Act of Physical Violence in the Capitol
Grounds or Buildings)
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INDICTMENT

The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia, LUKE RUSSELL
COFFEE, committed and attempted to commit an act to obstruct, impede, and interfere with a
law enforcement officer, lawfully engaged in the lawful performance of his/her official duties
incident to and during the commission of a civil disorder, and the civil disorder obstructed, delayed,
and adversely affected the conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, LUKE RUSSELL
COFFEE, using a deadly or dangerous weapon, that is, a crutch, did forcibly assault, resist,
oppose, impede, intimidate, and interfere with, an officer and employee of the United States, and
of any branch of the United States Government (including any member of the uniformed services),
and any person assisting such an officer and employee, that is, S.S., an officer from the
Metropolitan Police Department, while such officer or employee was engaged in or on account of
the performance of official duties, and where the acts in violation of this section involve physical

contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 11 1(a)(1) and (b))

COUNT THREE
On or about January 6, 2021, within the District of Columbia, LUKE RUSSELL

COFFEE, using a deadly or dangerous weapon, that is, a crutch, did forcibly assault, resist,
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oppose, impede, intimidate, and interfere with, an officer and employee of the United States, and
of any branch of the United States Government (including any member of the uniformed services),
and any person assisting such an officer and employee, that is, L.M., an officer from the
Metropolitan Police Department, while such officer or employee was engaged in or on account of
the performance of official duties, and where the acts in violation of this section involve physical

contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections | 11(a)(1) and (b))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, LUKE RUSSELL
‘COFFEE, did unlawfully and knowingly enter and remain in a restricted building and grounds,
that is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol
and its grounds, where the Vice President and Vice President-elect were temporarily visiting,
without lawful authority to do so, and, during and in relation to the offense, did use and carry a
deadly and dangerous weapon, that is, a crutch.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)(1)(A))
COUNT FIVE
On or about January 6, 2021, in the District of Columbia, LUKE RUSSELL COFFEE,
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted

area within the United States Capitol and its grounds, where the Vice President and Vice President-

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elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions, and, during and in relation to the
offense, did use and carry a deadly and dangerous weapon, that is, a crutch.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A))

COUNT SIX

On or about January 6, 2021, in the District of Columbia, LUKE RUSSELL COFFEE,
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, obstruct and impede ingress and egress to and from a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President and Vice President-elect were temporarily
visiting, and, during and in relation to the offense, did use and carry a deadly and dangerous
weapon, that is, a crutch.

(Impeding Ingress and Egress in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(3) and

(b)(1)(A))
COUNT SEVEN

On or about January 6, 2021, in the District of Columbia, LUKE RUSSELL COFFEE,
did knowingly engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, and, during and in relation to the offense, did use and carry a deadly
and dangerous weapon, that is, a crutch.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
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Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and
(b)(1)(A))
COUNT EIGHT

On or about January 6, 2021, in the District of Columbia, LUKE RUSSELL COFFEE,
willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House
of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,

Section 5104(e)(2)(D))

COUNT NINE

On or about January 6, 2021, in the District of Columbia, LUKE RUSSELL COFFEE,
willfully and knowingly obstructed and impeded passage through and within, the United States
Capitol Grounds and any of the Capitol Buildings.

(Impeding Passage Through the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(E))
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COUNT TEN
On or about January 6, 2021, in the District of Columbia, LUKE RUSSELL COFFEE,
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

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and for the District of Columbia.
